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separate accounts through PayPal, WePay, and wire transfers; withdrawing cash from

these accounts at ATMs, and with Gellar transferring monies from her Chase bank

account to Romeo’s Chase account.


       Defendants each reside in the State of New York within this District. Defendants’

criminal acts are the subject of a Complaint filed by the United States Attorney for the

Southern District of New York based on the findings of federal investigators.


                                      THE PARTIES

       1.      Plaintiff Budd Larner, P.C. (the “Firm”), is a law firm incorporated in New

Jersey with its principal place of business in Short Hills, New Jersey.


       2.      Defendant Rocco Romeo is a resident of the State of New York residing at

3 Paul Court, Washingtonville, NY 10992-2300


       3.      Defendant Jacqueline Galler a/k/a Star Galler is a resident of the State of

New York residing at 2 Pine Hill Road, Sugar Loaf, NY 10981.


                               JURISDICTION & VENUE


       4.      This Court has personal jurisdiction over Romeo and Galler under as they

are residents of the State of New York within this District.




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       5.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 as Plaintiff resides in New Jersey and Defendants are each residents of New

York; and the amount in controversy exceeds the statutory threshold. This Court also

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 & 1367,

because Plaintiff asserts federal civil RICO claims under 18 U.S.C. § 1961, et seq., and all

other asserted claims arise out of the same alleged acts by Defendants.


       6.      This action is properly venued in the Southern District of New York

pursuant to 28 U.S.C. § 1391(b), as both Defendants are residents of New York State.


                         FACTS COMMON TO ALL COUNTS


       7.      From 2000 through February 2019, Romeo was employed by the Firm as its

chief Information Technology officer.


       8.      In that capacity, Romeo was solely responsible for overseeing the Firm’s

information technology (“IT”) systems, including Firm billing, time entry, and

accounting software; supervising other IT employees in his department; and approving

IT expenditures for purchases and services to benefit the Firm.


       9.      Romeo had authority to execute contracts on behalf of the Firm with outside

IT vendors.




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      10.    The Firm issued Romeo a corporate credit card in the Firm’s name, with

which he could pay for services rendered to the Firm by its outside IT vendors.


      11.    Romeo had authority to receive invoices from the Firm’s outside technology

vendors and submit them to the Firm’s accounting department for payment.


      12.    The Federal Bureau of Investigation conducted a review in 2018 and 2019

of Romeo’s and Galler’s accounts, activities, prior creation of purported information

technology companies, and personal interactions. The FBI also reviewed records it

requested the Firm to provide, showing invoices and payment histories related to

Romeo’s use of a Firm credit card and Firm monies to pay for purported outside IT

services and equipment.


      13.    The FBI’s findings were summarized in a report attached as Exhibit A to

this Complaint, charging Romeo and Galler with wire fraud, money laundering, and

conspiracy. The criminal complaint led to this Court’s issuance of an arrest warrant for

Romeo and Galler. Romeo was arrested in early February 2016.


            The Blueprints for Romeo’s and Galler’s Criminal Enterprise


      14.    In or about December 2013, Romeo purportedly engaged the firm of

Arroteck Solutions to provide technology related goods and services to Budd Larner.




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       15.    During the period December 2013 through January 2015, the Firm received

invoices from Arroteck for IT services and equipment that Romeo claimed had been

provided to the Firm.


       16.    At Romeo’s direction, the Firm paid Arroteck at least $126,357 for IT

services and equipment that the Firm never actually received.


       17.    Arroteck was incorporated and owned by Romeo.


       18.    Starting in August 2015, Romeo and Galler created a series of like-named

shell corporations including S7eventech, seven.tech, and S7 Technotech, LLC

(collectively, “Seventech”).


       19.    From August 2015 through December 2018 Romeo ‘retained’ Seventech to

provide IT services and equipment to the Firm.


       20.    Romeo created fraudulent invoices in Seventech’s name, and then paid

these invoices with the Firm’s money by charging the costs to Romeo’s Firm-issued

corporate credit card.


       21.    Though the Firm asked Romeo to provide monthly invoices for all IT

payments made with his Firm card, and to itemize these statements, Romeo frequently

did not provide the monthly statements, itemization, or either.




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      22.    The Firm’s paid Seventech at least $902,147 from 2015 to 2018 at Romeo’s

direction, with the use of Romeo’s Firm-issued credit card.


      23.    Seventech’s invoices contained charges for services such as data center

hosting, VPN provision, and backup solutions. The Firm, however, already obtained

these services through a dedicated data center and agreements with another web services

provider, and was thus being double billed for IT services.


      24.    Seventech’s invoices also contained charges for Amazon Web Services

(AWS) that were part of payments to Seventech made with Romeo’s Firm credit card.

The Firm was simultaneously directly paying AWS for the same services and equipment.


      25.    The Firm did not receive any IT services or equipment detailed on the

Seventech invoices provided by Romeo.


      26.    Romeo represented to the Firm that Seventech comprised various Silicon

Valley technology company employees who had non-disclosure agreements with their

employers. Thus, Romeo explained, all communications between the Firm and Seventech

had to go through him.


      27.    In 2018, the Firm’s Chief Operating Officer, Mitchell Rait, met with Romeo

to for a standard review of the Firm’s IT expenses. Rait grew suspicious when Romeo (i)

inconsistently described Seventech (in the same conversation) first as numerous


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consultants – and then as a vendor – and then as various Silicon Valley executives; and

then (ii) could not produce a W-9 from Seventech for three months after being asked.


      28.    The Firm reviewed its financial records, hired a private investigator, and

notified federal authorities of its concerns about the legitimacy of Romeo’s IT payments

and the companies supposedly providing the Firm with IT services.


      29.    The FBI’s investigation ensued, as did the United States Attorney’s

commencement of criminal proceedings against Romeo and Galler.


     The Mechanics of Romeo’s and Galler’s Money Laundering and Wire Fraud


      30.    The FBI’s investigation revealed how Romeo and Galler used fictitious shell

companies to divert Firm monies through these shell accounts – across state and even

international borders – through a series of wire transfers from banks to remittance

accounts (e.g., PayPal) to their own bank accounts. Romeo and Galler used the Firm’s

rerouted monies for their own personal expenses and cash withdrawals.


      31.    Romeo and Galler used Seventech to invoice the Firm in two manners:


      32.    At times, Romeo and Galler used FreshBooks, a cloud-based accounting

service that electronically transmits invoices.   Seventech sent FreshBooks invoices

directly to Romeo, who then provided them to the Company only upon request.




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      33.    Seventech sometimes invoiced the Firm through PayPal, a California entity

that generates requests for payment from other PayPal users. Seventech sent PayPal

requests for payment directly to Romeo’s PayPal account; and Romeo paid them with his

Firm credit card.


      34.    The invoices from FreshBooks list the address for Seventech, also stylized

as S7eventech and seven.tech, as 733 Third Avenue, 15th Floor, New York, New York,

10017. The landlord at that address stated he had never heard of any such companies

or tenants when contacted by the FBI.


      35.    Seventech invoices show charges for services such as data center hosting,

VPN provision, and backup solutions. The Firm was already receiving and paying for

these services through another web services provider.


      36.    The FBI reviewed financial records from PayPal, WePay, JP Morgan Chase,

Citibank, Capital One, and the Firm; and account records from Optimum Online and

Charter Communications.


      37.    Galler opened a subject JP Morgan Chase account in August 2015 in the

corporate name of "S7 technotech LLC.”


      38.    Romeo and Galler laundered the Firm’s money in various ways: If Romeo

used the Firm credit card to pay invoices from FreshBooks, the Firm’s payment first went


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to WePay, a credit card processing company headquartered in San Jose, California.

WePay has a Seventech account registered to Galler.


      39.    Galler then transferred the WePay account monies to her 2015 JP Morgan

Chase Seventech account. WePay records show that an IP address registered to Galler at

an address in Sugar Loaf, New York accessed Seventech's WePay account several times

in October 2018 alone.


      40.    After money arrived in the JP Morgan Chase account, Galler distributed the

funds in three principal ways. First, Galler made cash withdrawals at ATMs located in

Orange County, New York. Second, Galler made online payments to a credit card issued

in her name. Third, Galler made electronic transfers to a Chase account owned by Romeo.


      41.    If Romeo paid Seventech invoices with PayPal, the monies went to a

Seventech    PayPal      account   registered   to    Galler,   using   email   address

"sales@s7eventech.com." IP address information from PayPal shows that an IP address

registered to Galler at 2 Pine Hill Road, Sugar Loaf, New York accessed Seventech's

PayPal account several times in 2018.


      42.    After Romeo paid the fraudulent invoice from PayPal, the funds were

temporarily placed in Galler's own PayPal account. Galler then used these funds to pay

personal expenses or transmitted the funds to Romeo’s personal PayPal account.



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      43.    Beyond the concerted efforts to divert monies from the Firm to their own

accounts, Romeo and Gellar were found by the FBI to have numerous and systemic,

including Romeo being seen leaving Galler’s residence; Romeo using his Firm phone to

exchange text messages and phone calls with Galler; Romeo providing website services

(through a company registered at his New York State home address) for a New York State

yarn business owned by Galler; and Romeo opening fiber line and internet accounts at

Galler’s home address – and paying for them with the Firm’s money.


      44.    The Seventech invoices provided to the Firm by Romeo curiously did not

include a phone number. The statement of Romeo’s credit card payments to Seventech

contained one entry with a phone number. A Google search revealed that New York

number was registered to Jacqueline Galler.


      45.    The Firm wished to terminate Romeo’s employment in late 2018 as the FBI’s

findings came to light. The FBI advised the Firm to wait until the investigation into

Romeo and Galler was complete.


      46.    Based on its findings, the FBI filed a Complaint in this Court. The Hon. Lisa

Margaret Smith, U.S.M.J. approved an arrest warrant for Romeo and Galler on January

31, 2019. Federal agents arrested Romeo on February 6, 2019.


      47.    The Firm terminated Romeo’s employment on the same date.



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                                       COUNT ONE
                                        [Civil RICO]

       48.      Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.


       49.      By fraudulently diverting funds from the Firm to Galler, directly and/or via

the S7eventech Entities, and Arrowteck, Romeo was associated in fact with Galler.


       50.      As individuals associated in fact with respect to the unauthorized

conversion, transfer, receipt, and disposition of the Firm’s money, Romeo and Galler

formed an enterprise within the meaning of 18 U.S.C. § 1961.


       51.      Romeo and Galler participated directly or indirectly in the affairs of the

enterprise.


       52.      Romeo and Galler individually and collectively participated in the

operation, supervision, and/or management of the enterprise.


       53.      As an identifiable group of individuals, Romeo and Galler constitute an

ascertainable structure within the meaning of the judicial interpretation of 18 U.S.C. §

1961, et seq.


       54.      Romeo and Galler, by converting, fraudulently misappropriating, stealing,

receiving, and retaining money belonging to the Firm, collectively, intentionally, and


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knowingly committed more than one act indictable under 18 U.S.C. §§ 1343, 1349, and

1956, each constituting a racketeering activity within the meaning of 18 U.S.C. § 1961.


       55.    Romeo and Galler engaged in a pattern of racketeering activity by

performing at least two acts of racketeering activity within the meaning of 18 U.S.C. §

1961, the last of which occurred no more than ten years after the first.


       56.    The predicate acts giving rise to the pattern of racketeering activity were

each related to Defendants’ ongoing pattern of theft, fraud, misappropriation, unlawful

receipt, and conversion of the Firm’s money, and continued for a period from at least

2013 through 2018.


       57.    The Firm suffered significant financial losses as a result of Defendants’

ongoing pattern of theft, unlawful receipt, and conversion of the Firm’s money.


       58.    Romeo and Galler’s pattern of racketeering activity proximately caused

damage to the Firm through the negative financial impact stemming from Defendants’

theft, conversion, and misappropriation of the Firm’s monies.


                                      COUNT TWO
                                        [Fraud]

       59.    Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.



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      60.     Romeo made misrepresentations of fact to the Firm when he claimed that

he was using the Firm’s corporate credit card to pay for legitimate IT services provided

to the Firm by outside vendors.


      61.     Romeo made further misrepresentations of fact to the Firm when he

fashioned fake invoices from Seventech and Arroteck and presented them to the Firm to

support his expenditure of Firm monies for the IT services purportedly provided by these

supposed entities.


      62.     Romeo knew these misrepresentations of fact to be false.


      63.     Romeo made these misrepresentations to induce the Firm’s reliance.


      64.     The Firm’s reliance upon these misrepresentations of fact was justifiable.


      65.     Plaintiffs   suffered    money      damages     resulting    from     Romeo’s

misrepresentations in a sum to be determined at trial, but no less than $902,147.


                                      COUNT THREE
                                       [Conversion]

      66.     Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.


      67.     Plaintiff has a superior right of possession to its funds.




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      68.     Romeo and Galler intentionally exercised unauthorized dominion over the

Firm’s funds to the exclusion of the Firm’s rights to those same monies.


      69.     Romeo and Galler are liable for all damages caused to the Firm resulting

from the conversions in an amount to be determined at trial, but no less than $902,000.


                                    COUNT FOUR
                                  [Unjust Enrichment]

      70.     Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.


      71.     Defendants have diverted funds from, incurred unauthorized credit card

charges to, and converted the monies of the Firm.


      72.     Defendants accepted the benefits of their conversions and diversions.


      73.     Romeo and Galler have failed to make restitution for the illegally diverted

Firm monies they received.


      74.     Plaintiffs suffered money damages resulting from Defendants’ conversion

and diversions in a sum to be determined at trial, but no less than $902,000.




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                                     COUNT FIVE
                                   [Constructive Trust]

       75.    Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.


       76.    The Firm’s entrustment of Romeo to use Firm monies to pay for outside IT

services and equipment created a confidential or fiduciary relationship between them.


       77.    Romeo represented to the Firm, in the form of a promise, that his Firm credit

card expenses and invoices submitted to the Firm’s accounting department, were for

legitimate IT services and equipment.


       78.    The Firm transferred monies from 2013 to 2018 in reliance upon Romeo’s

representation that Arroteck and Seventech had actually provided the firm with IT

services and equipment.


       79.    Romeo and Galler were unjustly enriched by this fraudulent diversion of

the Firm’s monies, which in reality were entirely used by Romeo and Galler to pay for

personal expenses, and never used to pay for IT services for the Firm.


       80.    Romeo and Galler acquired the Firm’s monies in a manner that does not

permit them, in good conscience, to retain the beneficial interest in those monies, whether

in the actual possession of Romeo and Galler, or in bank accounts and electronic

remittance accounts in their names or over which they have control.

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       81.    Instead, these circumstances justify the imposition of a constructive trust to

retain these monies pending disposition of this action.


                                       COUNT SIX
                                       [Accounting]

       82.    Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.


       83.    Romeo and the Firm had relations of a mutual and confidential nature.


       84.    The Firm entrusted money (and the discretion to spend it) to Romeo in his

capacity as Director of Information Technology, thereby creating a fiduciary duty.


       85.    The Firm is aware of some, but not all, payments made by Romeo using

Firm monies to the fraudulent IT companies. Likewise, the Firm has some, but not all,

of the fraudulent invoices submitted by Romeo to the Firm to justify these payments. The

Firm cannot fully account for the disposition of its revenues in this regard for a six-

calendar year period which, among other things, makes it impossible for the Firm to

amend, if necessary, its reporting to federal and state taxation authorities that previously

included these amounts as Firm expenditures.


       86.    The Firm is entitled to an accounting of where its monies went from 2013 to

2018, originally represented to be for outside IT services paid for by Romeo through use

of his Firm corporate credit card.

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       87.    There is no adequate legal remedy.


                                     COUNT SEVEN
                                 [Preliminary Injunction]

       88.    Plaintiff repeats and incorporates the allegations in the preceding

paragraphs.


       89.    There is a likelihood that Plaintiffs’ claims against Romeo and Galler for

fraud, unjust enrichment, conversion, and civil RICO will succeed on the merits.


       90.    Romeo and Galler’s illegal diversion of the Firm’s assets has irreparably

harmed, and continues to irreparably harm, the Firm.


       91.    The Firm has no adequate remedy at law to redress the irreparable harm

that they have suffered, and continue to suffer, as a result of Romeo and Galler’s actions,

to the extent they prevent the Firm from fully accounting for or reporting and meeting

the Firm’s tax obligations related the monies diverted by Defendants.


       92.    The balancing of the equities upon the issuance of a preliminary injunction

favors the Firm.


       93.    By reason of the foregoing, Plaintiffs are entitled to a preliminary injunction

enjoining Romeo and Gellar from accessing, diverting, or disposing of assets contained

in any commercial bank account (e.g. Chase) or electronic remittance account (e.g.,


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PayPal) that is or was associated with the Firm’s monies that were diverted to Seventech

and/or Arroteck.


                                   PRAYER FOR RELIEF


           WHEREFORE, based on all the foregoing, Plaintiff demands judgment against

Defendants as follows:


      i.    On the First Cause of Action for violations of 18 U.S.C. § 1961 (civil RICO),

            Plaintiff requests judgment in their favor and against Romeo and Galler

            pursuant to 18 U.S.C. § 1964 for three times the amount of Plaintiff’s

            compensatory damages, in an amount to be proven at trial but no less than

            $902,147 before trebling;


     ii.    On the Second Cause of Action for Defendants’ fraud, money damages in an

            amount to be determined at a trial of this action, but no less than $902,147;


    iii.    On the Third Cause of Action for Defendants’ conversion, money damages in

            an amount to be determined at a trial of this action, but no less than $902,147;


    iv.     On the Fourth Cause of Action for Defendants’ unjust enrichment, money

            damages in an amount to be determined at a trial of this action, but no less than

            $902,147;


     v.     On the Fifth Cause of an Action for the imposition of a constructive trust to

            take possession of all remaining monies in Romeo’s and Gellar’s possession,

            including but not limited to the full amounts in commercial bank accounts and

            online remittance accounts that at any time contained the Firm’s monies used

            to pay for fraudulent IT services or to entities created by Romeo or Gellar;


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    vi.       On the Sixth Cause of Action for an accounting of all Firm monies paid by

              Romeo to all fictitious IT entities created by Romeo or Gellar; or all entities that

              did not provide actual IT services to the Firm;


   vii.       On the Eleventh Cause of Action for a preliminary injunction enjoining and

              restraining Romeo and Gellar from (a) obtaining, possessing, transferring, and

              using assets, monies, or items of value obtained by the illegal use of the Firm’s

              money, including but not limited to Romeo’s and Gellar’s accounts that at any

              time contained Firm monies misappropriated by Defendants; and


   viii.      Pre-judgment interest, attorneys’ fees, costs, and disbursements, and such

              other relief as this Court may deem just and proper.


                                  DEMAND FOR JURY TRIAL


           Plaintiff respectfully demands a trial by jury as to all issues.


                  CERTIFICATION PURSUANT TO L. CIV. R. 83.10(d)(3)(A)


           The amount in controversy in this action exceeds $150,000.00, exclusive of interest

and costs, and should thus not be referred to arbitration.




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Dated: New York, New York
      February 22, 2019
                                          BUDD LARNER, P.C.
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